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                            Exhibit Q
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        Cupertino, CA to Federal Court                                                                Drive 10.0 miles, 16 min




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